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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     FELIX JAUREGUI
7
8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,       )      No. 2:07-cr-571 GEB
13                                   )
                     Plaintiff,      )      STIPULATION AND [PROPOSED] ORDER
14                                   )      CONTINUING SENTENCING
          v.                         )
15                                   )
     FELIX JAUREGUI,                 )      Date: August 14, 2009
16                                   )      Time: 9:00 a.m.
                     Defendant.      )      Judge: Hon. Garland E. Burrell, Jr.
17                                   )
     _______________________________ )
18
19        It is hereby stipulated and agreed to between the United States of
20   America through Philip A. Ferrari, Assistant United States Attorney,
21   and FELIX JAUREGUI, by and through his counsel, JEFFREY L. STANIELS,
22   Assistant Federal Defender, that sentencing in the above captioned case
23   be continued from August 14, 2009, to September 11, 2009, due to the
24   unavailability of Mr. Jauregui to meet with counsel before August 14,
25   2009, and due to the trial schedule of defense counsel between August
26   25, 2009, and approximately September 8, 2009, and the schedule of
27   government counsel, which makes him unavailable on August 21, 2009.
28        The court is advised that Mr. Jauregui was transferred recently
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1    from the Sacramento County Jail to the Butte County Jail in Oroville.
2    For security reasons the U.S. Marshal does not publish prisoner
3    movement schedules ahead of time.       Due to serious health issues which
4    affected Mr. Jauregui until recently while he was in custody, counsel
5    believed that he did not qualify for relocation under advertised              U.S.
6    Marshal criteria.     That belief turned out to be mistaken.            Review of
7    the final presentence report in light of the recently filed sentencing
8    memoranda needs to be accomplished in order to prepare Mr. Jauregui for
9    sentencing.
10         It is not necessary to exclude time in connection with this
11   request because the matter is scheduled for sentencing, not for
12   determination of guilt.
13         IT IS SO STIPULATED.
14
15   Dated: August 13, 2009
                                             Respectfully submitted,
16
                                             DANIEL J. BRODERICK
17                                           Federal Defender
18                                           /s/ JEFFREY L. STANIELS
                                             JEFFREY L. STANIELS
19                                           Assistant Federal Defender
                                             Attorney for Defendant
20                                           FELIX JAUREGUI
21
22   Dated: August 13, 2009
23                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
24
                                              /s/ PHILIP FERRARI
25                                           PHILIP A. FERRARI
                                             Assistant U.S. Attorney
26                                           BY JLS per oral authorization
27
28


     Stip & Order                             2
            Case 2:07-cr-00571-GEB Document 176 Filed 08/18/09 Page 3 of 3


1                                        O R D E R
2         IT IS SO ORDERED.
3    Dated: August 18, 2009

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5                                       GARLAND E. BURRELL, JR.
                                        United States District Judge
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     Stip & Order                             3
